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N.Joshua Dart, W.S.B. No. 7-4634
                                                                        STEPi!;?;
Heartland Pacific P.O. 1 Law Offices
Dominion Towers, South Tower                                                    OHcYEllllE
600 17th Street, Suite 2800 South
Denver, Colorado S0202-5-428
(303) 495-6456 x 700
njdarc#hearrlandpacific.com


              IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF WYOMING

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                                                                   o   •cv'-^.SS S
Debra J. Nation,                                     Case No.

Emma D. Garvin,
Jeanne L. Neeman,
Jessica C. Esquibel,

                 Plaintiffs;

        V.
                                                     Plaintiffs' Original Complaint
 Halladay Motors, Inc.,
a Wyoming Corporation,
Credit Acceptance Corporation,
a Michigan Corporation,
 Warren Federal Credit Union,
a Cooperative Association,

                 Defendants.
                                              J

Each Plaindffby and through their attorney, N.Joshua Dart, Heartland Pacific P.C., for their
complaint against Defendants state and allege as follows;
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1.     This case involves a tangled web ofdeceit inthe sale ofthree vehicles to thePlaintiffs,

which Defendant Halladay Motors, Inc. has been given multiple opportunities to make things

right ineach instance, but hasultimately failed to do so.

                                            PARTIES


2.     Each Plaintiff, DebraJ. Nation ("Ms. Nation"), Emma D.Garvin ("Miss Garvin")

Jeanne L. Neeman ("Ms. Neeman") andJessica C. Esquibel ("Miss Esquibel"), is an individual
who is a citizen of the State of Wyoming.

3.     Defendant, Halladay Motors, Inc. ("Dealer"), is acorporation that is incorporated under
the laws ofthe State ofWyoming. Dealer has its principal place ofbusiness in the State of
Wyoming. Dealer may be served with process by serving its registered agent, Don W. Riske, Esq,
at1720 Carey Ave, Ste. 500, Cheyenne, Wyoming 82001.

4.      Defendant Credit Acceptance Corporation ("Credit Acceptance"), is acorporation that
is incorporated under the laws ofthe State ofMichigan. Credit Acceptance has its principal place
ofbusiness in the State ofMichigan. Credit Acceptance may be served with process by servmg its
 registered agent. Corporation Service Company, 1821 Logan Ave., Cheyenne, Wyoming 82001.
 5.     Defendant Warren Federal Credit Union ("Warren FCU") is acooperative association
 organized in accordance with the provisions ofthe Federal Credit Union Act. 12 U.S.C. §1751 et
 sec. Warren FCU has its principal place ofbusiness in the State ofWyoming. Warren FCU may
 be served with process at114 E. 7th Avenue, Cheyenne, WY 82001.
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6.     Plaintiffs anticipate the need to name one or more unknown defendant(s) asthey become

known through the discoveryprocess.

                                        JURISDICTION


7.     TheCourt has jurisdiction over thelawsuit because thesuit arises under thefollowing;

8.     Magnuson-Moss Warranty Act ("MMWA") 15 U.S.C. 2301 etsec. Theamount in
controversy computed on the basis ofall claims to be determined in this suit exceeds the sum of
$50)000.00, and the amount in controversy ofany individual claim exceeds the sum of$25.00.

9.     Fair Credit Reporting Act ("FCRA") 15 U.S.C. § 1681. There is no amount in
controversy requirement underthe FCRA.

10.    The Court has supplemental jurisdiction under 28 U.S.C. §1367 over each plaintiffs
claims ofUnfeir and Deceptive Trade Practices, because plaintifTs claims are so related to the
claims within the Court's original jurisdiction that they form part ofthe same case orcontroversy

under Article 3oftheU.S. Constitution. Defendants' violations oftheMMWA and the FCRA

are unfair and deceptive, each additional claim asserted is intertwined with these violations,
making jurisdiction appropriate.

                                              VENUE


11.    Venue is proper in this district under 28 U.S.C. §1391(b)(2) because asubstantial part of
the events or omissions giving rise to this claim occurred in this district. Each vehicle was
 advertised, purchased and financed inthe State ofWyoming.
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                               CONDITIONS PRECEDENT


12.    All conditions precedent have been performed orhave occurred.

                                            FACTS


13.    Before thesale, Plaintiffs, DebraJ. Nation ("Ms. Nation"), Emma D. Garvin ("Miss

Garvin") Jeanne L. Neeman ("Ms. Neeman") andJessica C. Esquibel ("Aliss Esquibel") each
saw the Dealer^s advertisements onT.V., inthe newspaper, and heard them onthe radio.

14.    These advertisements stated thatall consumers were "guaranteed credit".That

representation was important to Ms. Neeman and Miss Esquibel in selecting this Dealer to
purchase a vehicle from.

15.    Ms. Neeman visited Dealer's location and website on one ormore occasions insearch ofa
more economical vehicle.

16.    Ms. Neeman and Dealer signed an order ("Exhibit 1") on October 22,2011 for the
purchase ofa2006 Cadillac DTC with 79,083 miles, VIN# 1G6KD57Y76U104348, and trading
in a2008 Daimler Chrysler Sebring with 34,499 miles, VIN#lC3LC46j48N237038.
17.    During the transaction identified in ^16, Dealer employed one or more unfair and
deceptive trade practices against Ms. Neeman (who is more than 60 years old) in violation ofthe
Wyoming Consumer Protection Act. W.S. 40-12-101 etsec.

 18.    The transaction identified in*1| 16 included the use ofamethod tovictimize an older
 person and Dealer knew or should have known that its conduct was unfair and or deceptive.
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19.    Miss Garvin andMs. Nation (collectively "Garvin/Nation") browsed Dealer's location

and website ononeor more occasions with nointention onpurchasing a vehicle, astheKia they

owned was paidoff.

20.    Garvin/Nation received a contest notice from Dealer in the Mail andthey visited Dealer

for the sole purpose ofclaiming their prize visited-on orabout November 10,2011.

21.    Garvin/Nation signed paperwork that included what they later learned was apurported
order ("Exhibit 2") for thepurchase ofa 2005 Ford Escape with 127,843

miles,VIN#lFMCU93195KC73245, and purportedly trading in a2008 Kia Rio with 51,709 miles,
VIN#KNADE123786317974.

22.    During the purported transaction identified in ^ 21, Dealer employed one or more unfair
and deceptive trade practices against Miss Garvin (who is aperson with disabilities) and Ms.
Nation (who is aperson with disabilities) in violation ofthe Wyoming Consumer Protection Act.
W.S. 40-12-101


23.    The purported transaction identified in *[121 included the use ofamethod to victimize a
person with disabilities and Dealer knew or should have known that its conduct was unfair and or
deceptive.

24.    Miss Esquibel visited many dealers in Cheyenne, Wyoming shopping for an affordable
vehicle that was safe for her asan expectant mother and herson.
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25.    Miss Esquibel visited Dealer on several occasions, and on August 28,2012 Miss Esquibel

and Dealer signed anorder ("Exhibit 3") for the purchase ofa 2007 Buick Lucerne with 96,424

miles,VIN#1G4HP57297U214342.

26.    During the transaction identified in ^ 25, Dealer employed one ormore unfair and

deceptive trade practices against Miss Esquibel (who was pregnant atthe time) in violation ofthe
Wyoming Consumer Protection Act("WCPA"). W.S. 40-12-101 etsec.

27.    Upon arrival atthe Dealer on the dates indicated above, each Plaintiffwas soon contacted
by its "Salesperson ofthe Year" Samer Ibraham ("Sam") whose business card indicates that he
isa "Special Finance Manager &Senior Sales Associate".

28.    After making contact with each Plaintiff, Sam ushered them inside and presented them
with paperwork.

                          MS. NEEMAN (OCTOBER 22, 2011)

29.    Ms. Neeman did not authorize Sam toaccess her credit report. Yet on information and

beliefSam did access her credit report.

30.    Ms. Neeman recalls being presented with paperwork to sign, but was not given ample
time to carefully review the documents prior to signing them, she was told by Sam to "sign here"
aseach document was presented in rapid succession.

31.     Although Ms. Neeman did not know itat the time, the paperwork she signed did not
include an application for credit. Ms. Neeman later became aware that an application for credit
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was completed, signed, and transmitted to Warren FCU without her permission bysomeone at

Dealer.


32.       Thisforgery included thefalse representation thatMs. Neeman's income was $2,500 per

month, this false representation induced Warren FCU to approve Ms. Neeman for financing.

Whomever atDealer thatforged theapplication for credit knew thatlisting Ms. Neeman*s actual

monthly income of$1,400 would cause Warren FCU todeny financing at terms acceptable to

Ms. Neeman.


33.       On information and belief Ms. Neeman's credit score was 799 on October 22,2011, and

today isinthe400-500 range as a result ofDefendant's fraudulent act.

34.       Oninformation and beliefMs. Neeman's was charged anunfair sales price of$14,475.00

for the Cadillac, and was given an unfair trade-in allowance of$8,500.00 (when she still owed
Wells Fargo $10,957.00) resulting in the amount necessary to be financed by Warren FCU of
$18,145.00.

35.       During the transaction Ms. Neeman was told by Sam that the Cadillac was "in excellent
condition", "really safe car for you and your son" and he joked that itwas acar for "old
people". None ofthese representations were written into the sales paperwork and that was unfair
to Ms. Neeman.


36.       By May 31,2012 Ms. Neeman was struggling to pay all ofher bills so she went in to the
Dell Range location ofWarren FCU. She opened achecking account with an unknown female
Warren FCU employee.
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37.    Ms. Neeman described to theemployee how she had told Sam at Dealer shecould only

afford monthly payments of$250.00 yet when the dust settled and she had a chance toreview the

loan paperwork, the payments were $299.00 permonth.

38.    TheWarren FCUemployee accessed theelectronic records for the transaction and told

Ms. Neeman they putyour income down as $2,500.00. Ms. Neeman was shocked to leam ofthis,

andimmediately felt that there musthave been fraud onthe partofDealer.

39.    The Warren FCUemployee proceeded totell Ms. Neeman that "she may have just

signed something in thepile ofpapers", "thatshe had toget rid ofthat car", "thatshe needed to

stop paying her Credit Cards" and when asked by Ms. Neeman what could be done tomodify the

loan "thereisnothing we can do". This conduct ofWarren FCU had theeffect ofthe ratification

ofthefraud perpetrated onMs. Neeman by Dealer.

               MISS GARVIN/MS. nation (NOVEMBER 10, 2011)

40.    Miss Garvin andMs.Nation remember being presented with paperwork to sign, butthey

each thought it was related tothe contest. The women were not given ample time tocarefully

review the documents prior tosigning them, they were each told by Sam to "sign here" as each

documentwas presented in rapid succession.

41.    Permission was never given to Sam to check theircredit because neither ofthe women

where interested in purchasing a vehicle. Oninformation and beliefSam did access a credit

report for each of them.
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42.    Atsome point Sam toldGarvin/Nation "P11 find you a loan" upon hearing this Ms.

Nation told Miss Garvin that noone would ever approve a loan for them, asthey had zero credit

and relied upon PerCapita payments from their Tribe, as well as social security disability.

43.    At some point Sam asked Miss Garvin to give him the keys tothe Kia Rio. She thought
maybe itwas part ofthe contest orthat the car was going tobe washed. Confused about the
purpose for handing overthe keys, shecomplied.

44.    On information and belief, while Garvin/Nation were sitting inSam*s office, anemployee

ofDealer drove aFord Escape and left itidling directly behind their Kia Rio, blocking them in.
45.    After telling Plaintiffs that they needed to return home to retrieve additional
documentation ofincome andthe title to theKia, Sam handed Plaintiffs thekeys to theFord

Escape. Miss Garvin stated that those keys were not theirs, to which Sam replied that they were
to drivethe Ford Escapehome.

46.     Due totheir disabilities that substantially limits major life activities and requires Ms.
Nation to seek the services ofapayee, and the unfair and deceptive sales tactics employed by
Sam, Garvin/Nation became very confused and embarrassed. Since their Kia was blocked in,
tiiey left Dealer in what they understood to be a"loaner" vehicle in order to go home and
retrieve additional documentation.

47.     Oninformation and beliefGarvin/Nation were charged anunfair sales price of

$10,025.00 for the Ford, and were given an unfair trade-in allowance of$3,425.00 resulting in the
amount necessary tobe financed by Credit Acceptance of$8468.00.
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                         MISS ESQUIBEL (AUGUST 28, 2012)

48.    On a prior visit, Miss Esquibel asked Sam about purchasing a1999 Dodge Neon with a
window sticker ofapprox. $5000. Sam told her "Credit Acceptance does not allow financing on
vehicles that old." Sam knew, andMiss Esquibel didnotknow that this statement was

completely false. Miss Esquibel relied upon this false and deceptive statement in selecting amore
expensive vehicle the Buick Lucerne.

49.    Miss Esquibel test drove and fell in love with the Buick. When she asked Sam about some

visible damage on the passenger side fender and what appeared to her to be minor damage all
over thecarSam toldherthat the previous owner "had hit adeer".

50.    Sam and/or Dealer, knew orshould have known that on 07/12/2011, the Buick that Sam

was showing to Miss Esquibel was declared atotal loss due tohail damage. Instead Sam told Miss
Esquibel that itwas "agood reliable car" and that beyond the fender damage the car was in
"perfect condition".

51.    Upon information and beliefDealer is a"Carfax Advantage™ Dealer". Which according
to the April 4,2011 press release issued by Carfax, Inc. "distinguishes Carfax subscribing dealers
that are committed to transparency. Through the program, participating dealers can set

themselves apart from their competition. Used car shoppers know they can buy with greater
confidence when shopping at any Carfax Advantage dealership."

52.     On information and belief, despite having unlimited access toCarfax reports, neither Sam
nor Dealer presented Miss Esquibel with aCarfax report. This failure toaccess aCarfax report
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would appear toindicate that Dealer as an expert in used car values was afraid ofwhat the Carfax

for that particular vehicle would reveal, making it much more difficult tosell.

53.    Miss Esquibel completed some paperwork for the purchase and putdown $200.00 to

hold the Buick.


54.    On August 28,2012 Miss Esquibel again met with Sam as she had made payments each
payday and had the final amount needed to have adown payment of$1,100.00 for the Buick.
55.    Sam's assistant presented paperwork toMiss Esquibel and her mother for their review.
Miss Esquibel reviewed and then signed each document. Upon information and belief, no
document indicated anydamage to the vehicle whatsoever.

56.     On information and beliefMiss Esquibel was charged an unfair sales price of$7,900.00

for the Buick, because it had been deemed atotal loss due to hail damage, had other visible
damage to the passenger side fender, resulting in the amount necessary to be financed by Credit
Acceptance of $9,171.00.

57.     Subsequently, Miss Esquibel had to make aclaim under her insurance for an accident that
occurred inDecember 2012. Because the insurance adjuster discovered thereport ofatotal loss

on the vehicle history, the amount Miss Esquibel was reimbursed was far less than itwould have
been for a vehicle that was in the condition described to her at the timeof the purchase.

             FIRST CLAIM: WYOMING CONSUMER PROTECTION ACT

58.     Each Plaintiffincorporates by reference all previous paragraphs as ifset out here in full.
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59.     This firstclaim is for violation ofthe Wyoming Consumer Protection Act. W.S. § 40-12-

101 etsec. by the Dealer and for which both Credit Acceptance and Warren FCU (collectively
"Financier") are derivatively liable by operation oflaw' and by the express terms ofthecontract

betweenthe parties.

60.      At all times relevant, Plaintiffs wereeach a consumer.

61.      At all times relevant, the Dealer did business as Halladay Motors, Inc., and was and isa

corporation and asupplier and merchant, and in the business ofselling and arranging for the
financing ofagreements relating to the sale ofmotor vehicles, and rendering advice and counsel
toconsumers with regard toand in relation to same, all within the jurisdiction ofthis Court.
62.      At all times relevant. Defendant Credit Acceptance was and isacorporation and

financing agency, engaged in the business offinancing the sale ofmotor vehicles to Wyoming
consumers for said consumers' personal use, and was acreditor doing business within the
jurisdiction ofthis Court.

63.      At all times relevant. Defendant Warren FCU was and is aCooperative Association and
financing agency, engaged in the business offinancing the sale ofmotor vehicles to Wyoming




^On information and belief, each retail instalment contract which the financier holds, and under which the Plaintiflfe
make their monthly payments to the financier, contains the following term: "ANY HOLDER OF THIS
CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH THE
DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT
HERETO OR WITH THEPROCEEDS HEREOF. RECOVERY HEREUNDER BY THEDEBTOR SHALL
NOT EXCEED AMOUNTS PAID BY THE DEBTOR HEREUNDER." This term makes die financier also liable
 for Plaintiffs' damages.
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consumers for saidconsumers' personal use,andwas a creditordoing business within the

jurisdiction of this Court.

64.    The retail instalmentcontractbetween Plaintiffs and the Dealer wasassigned to the

Financier. As a result, the Financier "stands in the shoes" ofthe Dealerfor alllegal purposes.

Plaintiffs' obligation to pay theFinancier under the contract between them issubject toall claims

and defenses which Plaintiffs have against the Dealer, as are alleged more specifically below, and
defendant Financier is not a holder in due course ofany instrument signed by Plaintiffs.

65.     Defendant Dealer isa motor vehicle dealer obligated todeal with Plaintiffs ingood faith in

all respects.

66.     On the dates indicated above each parties entered into aconsumer transaction, inthat

Plaintiffs agreed to purchase acertain motor vehicle from the Dealer and the Dealer agreed to sell
that vehicle to Plaintiffs on an instalment payment basis, and as part ofthe deal the Dealer agreed
toextend credit toPlaintiffs and tofinance the sale ofthe vehicle itselfand did also subsequently

arrange for the Financier toextend credit toPlaintiffs.
67.     As part ofeach deal, the Dealer made representations to Plaintiffs and Plaintiffs relied
upon the truthfulness ofall said representations.

68.     As part ofeach deal, the Dealer represented to Plaintiffs as indicated above, and Plaintiffs
 relied on said representations. Each representation was important to each Plaintiffs in deciding to
 acquire the vehicle they had selected, but upon information and beliefwere not written into the
 sales documents, contrary to the requirements ofthe law.
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69.    As part of each deal, and byoperation oflaw, the Dealeralso gave to Plaintiffs an implied

warranty of merchantability andfitness foruse, even though in other paperwork the Dealer

attempted to disclaim or otherwise limit the implied warranties that it had given to Plaintiffs,

which wasunfairand deceptiveto Plaintiffs andin violation of the law.

70.    Each motor vehicle involvedin each transaction as indicated aboveare goods.

71.    Defendant Dealer knew that Ms. Neeman would not have been approved byWarren FCU

ifherpaperwork indicated her trueincome. Being approved at anaffordable payment was

important inher decision toacquire the vehicle, and the fact that she could not be approved for

the vehicle she had selected should have been disclosed to Ms. Neeman on or before the date of

sale,but Dealer did not do so.

72.       Defendant Dealer knew or should have knownthat Garvin/Nation were not in the

dealership topurchase avehicle, and lacked sufficient income tomake payments, the fact that
they were "approved" confused Garvin/Nation who never had ameeting ofthe minds with
Dealer.

73.       Defendant Dealer knew or should have known that the prior damage and repairs to the

Buick Lucerne sold toMiss Esquibel existed and that those facts would be important toher in

making her decision to acquire the vehicle, and that itshould have been disclosed to Plaintiffs on
or before the date of sale, but it did not do so.
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        22. As a result oftheabove facts and others yet tobe discovered and plead, each Plaintiff

requested that the Dealer cancel the transaction and refund Plaintiffs* money, but the Dealer
refused and that was unfair to Plaintiffs.

74.     As a result oftheabove facts before, during orafter a consumer transaction between each

Plaintiffand defendant Dealer, theDealer committed one or more unfair, deceptive and

unconscionable acts in violation ofW.S. § 40-12-105.

75.     During the course ofthe consumer transaction between the Dealer and each Plaintiff, the
Dealer provided conflicting notices ofwarranty rights and warranties to Plaintiffs and that was

unfair to Plaintiffs.

76.     Although federal law required the Dealer to disclose inwriting toPlaintiffs whether its
warranty toPlaintiffs was afull warranty oralimited warranty, the Dealer failed todisclose
either and, thus, by operation oflaw the dealer's warranty toPlaintiffs isafull warranty under the
law.


77.     As a result oftheabove facts. Defendant represented toeach Plaintiffs thatthesubject of

a consumer transaction hadbenefits thatit did not have and representing that the subject vehicle

was a particular standard, quality, or grade that it was not.

78.     As a result oftheabove facts, before, during orafter a consumer transaction between each

PlaintiffandDefendant Dealer, Defendant Dealer committed an unconscionable actor practice

for which the Financier isderivatively liable inconnection with aconsumer transaction, in that it
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knowingly made, atthe time the consumer transaction was entered into with Plaintiffs, a
misleading statement ofopinion on which each Plaintiffwas likely to rely to their detriment.
79.    As a result oftheabove facts, thedefendant Dealer breached itswarranties and

representations to each Plaintiffs and that was unfair, deceptive and unconscionable to each
Plaintiff, and defendant Financier is subject to all claims and defenses which Plaintiffs may assert
against the Dealer and is therefore derivatively and secondarily liable to Plaintiffs for the liability
of the Dealer.

80.     One ormore ofthe representations the Dealer made toeach Plaintiffs were both material
and felse at the time they were given to Plaintiffs and the Dealer knew or should have known they
were false atthe time they were made, and that was unfair and deceptive and unconscionable to
each Plaintiff.


81.     Before, during and/or after each sale, the Dealer made representations to each Plaintiff
which created inthemind ofPlaintiffs, who was a reasonable consumer, a false impression as to

one ormore material aspects ofthe deal and that was unfair toeach Plaintiff.
82.     Before, during and/or after each sale, the Dealer failed to integrate into awntten sales
contract all material statements, representations orpromises, oral orwritten, made prior to

obtaining the Plaintiffs* signature on the written contract with the Dealer.
83.     The Defendant Dealerhadnotices ofthe breaches ofthe agreement within a reasonable

time and areasonable opportunity tocure its breach but failed to do so and that was unfair to
each Plaintiff.
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84.       The Defendant Dealerrefused to honor eachPlaintiffs' rescission of the transaction and

that was unfair to each Plaintiff.

85.       Plaintiffs suffered and shall continue to suffer actual, incidental and consequential

damages as adirect and proximate result ofthe inabili^ or other failure ofDefendant Dealer's
failure, refusal orother inability tocure the breach and for which the Financier is derivatively
liable.


           SECOND CLAIM: FTC USED CAR WINDOW STICKER RULE

86.       The allegations ofall other paragraphs and claims in this pleading are incorporated as if
fully rewritten herein.

87.       This second claim is forviolations ofthe FTC UsedCarWindow Sticker Rule (16 C.F.R.

455.1 etseq, and additional violations ofthe WCPA by the Dealer and for which the Financier is
derivatively liable.

88.       On information and belief, before, during orafter aconsumer transaction between each

parties, the Dealer failed to properly fill out and post on each subject vehicle, and later deliver a
copy ofto each Plaintiffs, aBuyers Guide form that complied with applicable law and that was
unfair to Plaintiffs.

89.       Atall times relevant, the motor vehicle the Defendant Dealer sold each Plaintiffwas a
vehicle and a used vehicle, said defendant was aDealer, and each Plaintiffwas a consumer.

90.       Ineach instance described above. Defendant Dealer sold oroffered for sale aused vehicle
in or affecting commerce, as commerce is defined in the Federal Trade Commission Act.
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91.    Defendant Dealer entered into a consumer transaction with each Plaintiff and at that time

sold or offered forsale a usedvehicle in oraffecting commerce, ascommerce isdefined inthe

Federal TradeCommission Act, and upon information and beliefat each time failed to have

properly posted on the subject vehicle a "window sticker" form, a.k.a. a "Buyers Guide" form,
thatcomplied withthe FTC Used CarWindow Sticker Rule.

92.    Defendant Dealer entered into a consumertransactionwith each PlaintiflFs and at that

time saidDealer offereda used vehiclefor saleto eachconsumer-Plaintiffs without preparing,

filling in as applicable and displaying on that vehicle a "Buyer's Guide" in the form and manner
required bylawfor its display and use.

93.    At the timethe Defendant Dealer dealt with Plaintiffs, it knew or should have known that

itsforms didnot comply withthe applicable law.

94.    As a result oftheabove, among other things, the Dealer has committed an unfair and/or

deceptive act or practice in connection with a consumer transaction.

95.    As a result oftheabove, inter alia, theDefendant Dealer committed anunfair or

deceptive act orpractice in violation ofthe FTC's Used Car Window Sticker Rule and the
WCPA and for which the Financier is derivatively liable.

96.    As a result oftheabove, inter alia, the Defendant Dealer committed one ormore unfair or

deceptive acts orpractices inviolation ofthe WCPA, before, during orafter one ormore
consumer transactions between each Plaintiffand one or more of the Defendants.
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                    THIRD CLAIM: FEDERAL PRIVACY LAWS


97.     The allegations of allother paragraphs and claims in this pleading areincorporated asif

fully rewritten herein.

98.    This third claim is for violations ofthe federal Privacy Laws and Regulations (15 USC

6801 etseq. and 16CFR 313 etseq) and additional violations of the WCPA by the Dealer andfor

which the Financieris derivatively liable.

99.    At all times relevant, each Plaintiffwasa customerand a consumer in relationto the

Dealer, and the Dealer was a financial institution,and the partieswere engagedin a customer

relationship, allin relation to the transaction between them and within the meaning of 15 USC

6801 etseq.

100.   The Financier is not an affiliate of the Dealer and the Dealer is not an affiliate of the

Financier, andeachwas a nonafHliated third party with respect to the other, allwithin the

meaningof 15USC 6801etseq.

101.   Before, duringor after eachconsumer transaction between the Dealerand eachPlaintiff,

the Dealerdisclosed customer information about eachPlaintiff, including nonpublic personal

informationabout each Plaintiffs, to the Financier.

102.   Plaintiffs believe that the Dealer hasdone exactly the same thingin hundreds ofother

consumertransactions in the last two years with other similarly situated customers and

consumers whose Dealerretail instalment sales contract was assigned to the named Financier

herein and other financial institutions who were nonaffiliated third parties.
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103.   Upon information and belief, before, during and after a consumer transaction between the

Dealer and each Plaintiff, the Dealer provided each Plaintiffwith a "Privacy Notice"in an

attempt to comply with applicable federal Privacy Laws and Regulations, but theform fails to

comply with the requirementsof the lawin one or more manners,

104.   Plaintiffs believe that the Dealer has done exactly the same thing in hundreds ofother

consumer transactions in the last twoyears witho±er similarly situatedcustomers and

consumers.



105.   Upon information and belief. Defendant Dealer used the identical "Privacy Notice" form

in numerous other consumertransactions forthe saleofmotorvehicles and thereby violated the

applicable laws innumerous other transactions with other consumers, many ofwhom are

unaware of the violation.

106.   Upon information and belief, atthe time the Defendant Dealer dealt with each Plaintiff, it

knew or should have known that its form didnotcomply with the applicable law.

107.   At the tune the Defendant Dealer dealt with other consumers in the sale ofmotor

vehicles, it knew or should have known thatitsform did notcomply with the applicable law.

108.   Before, during or after each consumer transaction between the Dealer and each Plaintiff,

theDealer failed tocomply inone ormore manners with itsstatutory and other obligations and

duties under 15 USC 6801 etseq and one ormore ofits enabling provisions oftheCode ofFederal

Regulations, and that wasunfair and deceptive to Plaintiffs.
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                       FOURTH CLAIM: BREACH OF CONTRACT

109.    The allegations ofall otherparagraphs andclaims in this pleading areincorporated asif
                                                  *



fully rewrittenherein.

110.    This fourth claim is for breach ofcontract and/or warranties and additional violations of

the WCPA byeachand everydefendant, jointly and/or severally.

111.    Asa result ofthe above, interalia, each and eveiy defendant breached its contract and

warranties with Plaintiffs, and that was unfair and/or deceptive to Plaintiffs.

                          FIFTH CLAIM: MAGNUSON MOSS ACT

112.    The allegations ofall other paragraphs and claims inthis pleading are mcorporated asif

fully rewritten herein.

113.    This fifth claim is for violation of the Magnuson Moss Warranty Act (15 U.S.C. 2301 et

seq.) andforadditional violations of the WCPA bythe Dealer andforwhich the Financier is

derivatively liable.

114.    Before, during or after each consumer transaction between the parties, theDealer failed

tocomply with the terms ofits warranty in one ormore manners, and that was unfair toeach
Plaintiff.


115.    Before, during or after each consumer transaction between the parties, theDealer failed

to comply with its statutory and otherobligations under theMagnuson Moss Act, and thatwas

unfair to each Plaintiff.
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116.    Asa result of the above, mter alia, the Dealer violated the Magnuson MossAct andthat

was unfairand/or deceptive to each Plaintiff

                                 SIXTH CLAIM: FRAUD

117.    The allegations ofallotherparagraphs and claims in thispleading areincorporated asif

fully rewritten herein.

118.    This sixth claim is forfraud anddeceit by theDefendant Dealer forwhich theFinancier is

derivatively liable.

119.    During thecourse ofthe transaction between the Plaintiffs and theDefendant Dealer,

several false representations offact were made by theDefendant Dealer with knowledge ofits

falsity orwith utter disregard and recklessness about its falsity that knowledge may be concluded

or found, as stated abovein more detail.

120.    During thecourse ofeach subject transaction between each Plaintiffand theDefendant

Dealer, a knowing concealment offact which was done by said Defendant Dealer at atime when,

and under circumstances where, therewas a duty todisclose, to wit: for Miss Esquibel, thetruth

about thecondition ofthe vehicle and itsprior damage and history and theeffect thatwould have

on the value ofthe vehicle, forGarvin/Nation the fact that theywere purchasing a vehicle that

they did notwant and were unable toafford the payments, for Ms. Neeman theforgery that

misrepresented tothe Financier her monthly income, and all other misrepresentations stated and
referred to above.
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121.        The DefendantDealer's acts and omissions ofrepresentation and concealment were

material to each transaction.

122.        The Defendant Dealer' s acts and omissions of representationand concealment were

made withthe intent of misleading eachPlaintiffintorelying upon it.

123.        The Defendant Dealer's acts and omissions ofrepresentation and concealment were

made withthe fraudulent intent of inducing each Plaintiffs to enter into a writtencontract to

purchase the motor vehicle, which each Plaintiffdid.

124.        Each Plaintiffs was justified in relying onthe representation andthe lack ofany

concealment by the DefendantDealerandeachdid, in fact,so rely.

125.        As a result of the above,the Dealer committed one or more acts of fi^ud upon each

Plaintififand that was unfair to each Plaintiff.

126.        Asa direct and proximate result ofthe above, each Plaintiffwas injured andeach injury

was caused byPlaintiffs' reliance on the representation andconcealment.

            WHEREFORE, judgment isdemanded against each Defendant, jointly and severally, as

deemed properand lawful by the Court, asfollows:

                                       PRAYER FOR RELIEF

       A.       Plaintiffs are entitled to an awardof attorneyfeesand costs under 15U.S.C §

                1681n(a)(3) and 15U.S.C. § 1681o(a)(2) and the WCPA.

       B.       Each Plaintiffbe relieved of the obligations of each contract;
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   C.        Each PlaintifFbe awarded an amount to be determined at trial for the conduct of each


             defendant;

   D.        Each PlaintifTbe awarded such punitive damages as this Court deems just and

             equitable as punishment to Halladay Motors, Inc. and as a deterrent to others;

   E.        Each Plaintiffbe awarded taxable costs and interest on the judgment; and

   F.        EachPlaintiffs be awarded any otherand further reliefas the court may deem proper.

                            REQUEST FOR PLACE OF TRIAL


        The Plaintiffs request trial be held in Cheyenne, Wyoming.


                                DEMAND FOR JURY TRIAL


        The Plaintiffs respectfully request a trial byjury.

        lis "2^dayof ()(,
Dated this                                ,Idl'j.
                                                              Respectfully submitted.




                                                              N.JoshuafDart, WSB #7-4634
                                                              Heartland Pacific P.C. | LawOffices
                                                              Dominion Towers, South Tower
                                                              600 17th Street, Suite 2800 South
                                                              Denver, Colorado 80202-5428
                                                              (303) 495-6456 x 700
                                                              njdart@heartlandpacific.com


                                                              OF COUNSEL
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                                        HEARTLAND PACIFIC P.C.

                                        ATTORNEY IN CHARGE FOR
                                        PLAINTIFFS, DEBRAJ. NATION,
                                        EMMA D. GARVIN,JEANNE L.
                                        NEEMANandJESSICA C.
                                        ESQUIBEL
